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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NEW YORK

ANIMAL WELFARE INSTITUTE                            )
900 Pennsylvania Avenue S.E.                        )
Washington, D.C. 20003,                             )
                                                    )
and                                                 )
                                                    )
FARM SANCTUARY                                      )
3100 Aikens Road                                    )
Watkins Glen, NY 14891                              )
                                                    )
                      Plaintiff                     )      Civil Action No. 6:18-cv-06626
                                                    )
v.                                                  )
                                                    )
UNITED STATES DEPARTMENT OF                         )
AGRICULTURE                                         )
1400 Independence Ave. S.W.                         )
Washington, D.C. 20250,                             )
                                                    )
FOOD SAFETY AND INSPECTION                          )
SERVICE                                             )
1400 Independence Ave. S.W.                         )
Washington, D.C. 20250                              )

               [PROPOSED] ORDER GRANTING EXTENSION OF TIME

       Having reviewed Plaintiffs’ Motion for an extension of time regarding the briefing of

Defendants’ Motion to Dismiss, and for good cause show, Plaintiffs’ Motion is GRANTED. The

response and reply briefs regarding the Motion to Dismiss will be due as follows:

              Plaintiffs’ response brief due by Friday, November 16, 2018.

              Defendants’ reply brief due by Monday, December 31, 2018.



____________                                                       ________________________
DATE                                                               Hon. Michael A. Telesca
                                                                   United States District Judge

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